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                              HEARING DATE AND TIME: SEPTEMBER 26, 2019 AT 11:00 A.M. (ET)
                    OBJECTION DEADLINE DATE AND TIME: SEPTEMBER 19, 2019 AT 4:00 P.M. (ET)

 John E. Mitchell (Admitted Pro Hac Vice)                       Andrea S. Hartley (Admitted Pro Hac Vice)
 Yelena Archiyan (Admitted in New York)                         Katherine C. Fackler (Admitted Pro Hac Vice)
 AKERMAN LLP                                                    Joanne Gelfand (Admitted in New York)
 2001 Ross Avenue, Ste. 3600                                    AKERMAN LLP
 Dallas, TX 75201                                               98 Southeast Seventh Street, Ste. 1100
 Tel.: (214) 720-4300
                                                                Miami, FL 33131
 Fax: (214) 981-9339
                                                                Tel.: (305) 374-5600
                                                                Fax: (305) 374-5095
 Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                 )           Chapter 11
                                                        )
 MIAMI METALS I, INC., et al.1                          )           Case No. 18-13359 (shl)
                                                        )
                                                        )           (Jointly Administered)
                              Debtors.                  )
                                                        )

         NOTICE OF HEARING ON DEBTORS' MOTION FOR APPROVAL OF
     SETTLEMENT AGREEMENT BY AND AMONG DEBTORS, SENIOR LENDERS,
          AND FIRST MAJESTIC SILVER CORP. AND ITS SUBSIDIARIES,
        PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

          PLEASE TAKE NOTICE that a hearing on Motion for Approval of Settlement

 Agreement by and Among Debtors, Senior Lenders, and First Majestic Silver Corp. and its

 Subsidiaries, Pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “Motion”), will be



 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
 Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami
 Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No.
 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 held before the Honorable Sean H. Lane, United States Bankruptcy Judge, in Room 701 of the

 United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy

 Court”), One Bowling Green, New York, New York 10004, on September 26, 2019 at 11:00

 a.m. (Eastern Time), or as soon thereafter as counsel may be heard.

          PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

 (the “Objections”) must be in writing, shall conform to the Federal Rules of Bankruptcy

 Procedure and the Local Bankruptcy Rules for the Southern District of New York, and shall

 be filed with the Bankruptcy Court (a) by registered users of the Bankruptcy Court’s case

 filing system, electronically in accordance with General Order M-399 (which can be found at

 http://nysb.uscourts.gov) and (b) the Chambers of the Honorable Sean H. Lane (“Chambers”),

 United States Bankruptcy Court for the Southern District of New York, One Bowling Green,

 New York, New York 10004; (c) the Debtors, Miami Metals I, Inc. f/k/a Republic Metals

 Refining Corporation, (Attn: Scott Avila); (d) the attorneys for the Debtors, Akerman LLP,

 2001 Ross Avenue, Suite 3600, Dallas, TX 75201 (Attn: John Mitchell, Esq.) and 98 Southeast

 Seventh Street, Suite 1100, Miami, FL 3313 (Attn: Andrea S. Hartley, Esq. and Katherine C.

 Fackler, Esq.); (e) the Office of the United States Trustee for the Southern District of New York

 (the “U.S. Trustee”), U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York,

 New York 10014 (Attn: Shannon Scott, Esq.); (f) the attorneys for the Creditors’ Committee, if

 a committee is formed; (g) counsel to any other statutory committee appointed in the Chapter 11

 Cases, and (h) all entities that requested notice in these chapter 11 cases under Fed. R. Bankr.

 P. 2002 so as to be received no later than September 19, 2019 at 4:00 p.m. (Eastern Time)

 (the “Objection Deadline”).




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          PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

 with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to the

 Bankruptcy Court an order substantially in the form of the proposed order annexed to the

 Motion, which order may be entered with no further notice or opportunity to be heard.

 Dated: August 21, 2019
                                                    AKERMAN LLP


                                                    By:     /s/John Mitchell
                                                           John E. Mitchell
                                                           (Admitted Pro Hac Vice)
                                                           Yelena Archiyan
                                                           (Admitted in New York)
                                                           2001 Ross Avenue, Suite 3600
                                                           Dallas, TX 75201
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                                                           E-Mail: john.mitchell@akerman.com
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                                                                         - and -

                                                           Andrea S. Hartley
                                                           (Admitted Pro Hac Vice)
                                                           Katherine C. Fackler
                                                           (Admitted Pro Hac Vice)
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                                                           E-Mail: joanne.gelfand@akerman.com

                                                    Counsel for Debtors and Debtors-in-Possession




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                                                                Tel.: (305) 374-5600
                                                                Fax: (305) 374-5095
 Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                 )           Chapter 11
                                                        )
 MIAMI METALS I, INC., et al.1                          )           Case No. 18-13359 (shl)
                                                        )
                                                        )           (Jointly Administered)
                              Debtors.                  )
                                                        )

          DEBTORS' MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
                BY AND AMONG DEBTORS, SENIOR LENDERS, AND
              FIRST MAJESTIC SILVER CORP. AND ITS SUBSIDIARIES,
          PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

          Miami Metals I, Inc., et al., as debtors and debtors-in-possession (collectively the

 "Debtors") in the above-captioned Chapter 11 cases (the "Chapter 11 Cases"), by and through

 their undersigned counsel hereby file this Motion for Approval of the Settlement Agreement



 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
 Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami
 Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No.
 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 attached hereto an incorporated herein as Exhibit A (the "Settlement Agreement"), by and

 among the Debtors, the Senior Lenders (as defined below), and First Majestic Silver Corp.

 (“FMSC”), on behalf of itself and its subsidiaries Nusantara de Mexico, S.A. de C.V.

 (“Nusantara”) and Primero Empresa Minera, S.A. de C.V. (“PEM” and together with FMSC and

 Nusantara, collectively, “FM”), pursuant to Federal Rule of Bankruptcy Procedure 9019.      In

 support of this Motion, the Debtors say:

                                        JURISDICTION

          1.    The United States Bankruptcy Court for the Southern District of New York (the

 “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334. This

 matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

          2.    Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.    The statutory bases for the relief requested herein are section 105(a) of the

 Bankruptcy Code, and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”).

                                        BACKGROUND

          4.    On November 2, 2018 (the "First Petition Date"), the Debtors filed voluntary

 petitions for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy

 Code”), initiating these Chapter 11 Cases. On November 21, 2018, certain additional debtors

 (collectively with the Debtors, the “Debtors”) filed voluntary petitions for relief under the

 Bankruptcy Code, initiating their Chapter 11 Cases.

          5.    The Debtors continue in possession of their properties as debtors in possession

 pursuant to 11 U.S.C. §§ 1107(a) and 1109. On November 19, 2018, the United States Trustee

 gave notice of the appointment of an Official Committee of Unsecured Creditors (the

 “Committee”) [ECF No. 113].

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          6.     Additional details regarding these Chapter 11 Cases are available in the

 Declaration of Scott Avila, as Chief Restructuring Officer (the “CRO”), in Support of Chapter 11

 Petitions and First Day Motions [ECF No. 2].

          7.     Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman &

 Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank PLC,

 Techemet Metal Trading LLC, Merced Partners Limited Partnership and Athilon Capital Corp.

 LLC, and Hain Capital Investors Master Fund, Ltd. (collectively, the “Senior Lenders”) are each

 party to a credit agreement, master netting agreement or lease agreement with the Debtors

 entered into prior to the Petition Date.

          The Debtors and the Senior Lenders assert, and FM disputes, that the obligations under

 the Secured Credit/Lease Documents (the “Prepetition Obligations”) are secured by valid and

 perfected liens (the “Prepetition Liens”) on substantially all of the Debtors’ assets, including the

 Debtors’ purported inventory and cash.

          8.     On the Petition Date, the Debtors filed the Motion For Entry of Interim and Final

 Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to

 the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief (the

 “Initial Cash Collateral Motion”) [ECF No. 10].

          9.     On November 13, 2018, the Debtors and the Senior Lenders filed the Joint

 Supplement of the Debtors and the Senior Lenders to the Cash Collateral Motion (together with

 the Initial Cash Collateral Motion, the “Cash Collateral Motion”) [ECF No. 78].

          10.    The Bankruptcy Court has entered nine interim cash collateral orders [ECF Nos.

 54, 277, 372, 538, 675, 864, 987, 1160 and 1237] (collectively, the “Interim Cash Collateral

 Orders”).



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          11.   Pursuant to the Interim Cash Collateral Orders, among other things, the Senior

 Lenders consented to the Debtors’ use of their cash collateral to fund the costs and expenses of

 administering the Chapter 11 Cases, and the Senior Lenders were granted superpriority claims

 (“Superpriority Claims”) and adequate protection liens on substantially all of the Debtors’ assets

 (the “Adequate Protection Liens”) to protect against any diminution in value of the Prepetition

 Collateral.

          12.   Numerous of the Debtors’ customers (including FM) objected to the Cash

 Collateral Motion on the basis that the Debtors’ purported precious metal inventory and its cash

 proceeds were property of such customers rather than property of the Debtors’ estates, giving

 rise to a dispute (the “Ownership Dispute”) concerning the ownership of such assets governed by

 uniform procedures approved by the Bankruptcy Court (as amended, the “Uniform Procedures”)

 [ECF Nos. 395, 913, and 1196].

          13.   Nusantara and Debtor Miami Metals II, Inc. (f/k/a Republic Metals Corporation)

 (“RMC”) are parties to a certain letter agreement dated July 21, 2017 (as amended, restated,

 supplemented, or otherwise modified, the “Nusantara Contract”) relating to the refining and

 forward/spot sales of precious metal produced by Nusantara’s Santa Elena mine.

          14.   PEM and RMC are parties to a certain letter agreement dated June 27, 2018 (as

 amended, restated, supplemented, or otherwise modified, the “PEM Contract” and together with

 the Nusantara Contract, the “FM Contracts”) relating to the refining and forward/spot sales of

 precious metal produced by PEM’s San Dimas mine.

          15.   FM asserts that it retained ownership of the precious metals delivered to the

 Debtors pursuant to the FM Contracts (the “Disputed Materials”) and that such metals and the

 proceeds thereof are not property of the Debtors’ estates.



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          16.   The Debtors and the Senior Lenders assert that the Debtors own Disputed

 Materials and that such materials and the proceeds thereof are property of the Debtors’ estates

 and are subject to the Prepetition Liens and Adequate Protection Liens of the Senior Lenders.

          17.   On November 16, 2018, FM delivered a letter making a reclamation demand to

 the Debtors [Docket No. 102] (the “Reclamation Demand”) and on November 21, 2018, FM

 filed an objection to the Cash Collateral Motion [Docket No. 147] (the “Cash Collateral

 Objection”).

          18.   On January 18, 2019, FM filed a Customer Statement of First Majestic Silver

 Corp. [Docket No. 460] (the “Initial Customer Statement”) pursuant to the Uniform Procedures

 which asserted, among other things, FM’s ownership claims to the Disputed Materials and

 incorporated the Cash Collateral Objection by reference.

          19.   On March 11, 2019, FM filed an amendment to the Initial Customer Statement

 [Docket No. 781] (the “Supplemental Customer Statement” and together with the Initial

 Customer Statement, the “Customer Statement”).

          20.   On April 10, 2019 (a) FMSC filed proof of claim no. 306 against RMC,

 (b) Nusantara filed proof of claim nos. 300, as amended by 301, and 307 against RMC, and

 (c) PEM filed proof of claim nos. 304 and 308 against RMC and proof of claim no. 305 against

 Debtor Republic Trans Mexico Metals, S.R.L., and on May 9, 2019, Nusantara filed proof of

 claim no. 457, amending proof of claim no. 307 against RMC (collectively, the “Proofs of

 Claim”).

          21.   On June 21, 2019, the Debtors and the Senior Lenders filed a joint motion for

 summary judgment [Docket No. 1202] seeking, among other things, to dismiss the Customer

 Statement as a “Bucket 3” customer ownership claim and overrule the Cash Collateral Objection



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                                          RELIEF REQUESTED

          22.     Through this Motion, with the agreement of the Senior Lenders and the support of

 the Committee, the Debtors request approval of the Settlement Agreement attached hereto and

 incorporated herein as Exhibit A2 by and among FM, RMC, and the Senior Lenders as to the all

 of FM's claims against RMC, including but not limited to the following material terms:

                          Settlement Payment. As consideration for the resolution of any and all
                          existing disputes among the Parties, within five (5) business days of the
                          Effective Date, the Debtors shall pay to FM $1,600,000 in immediately
                          available funds.

                          Allowed Claims. Upon the Effective Date:

                          (i)    FM shall be granted an allowed administrative expense claim
                          against RMC under section 503(b)(9) of the Bankruptcy Code in the
                          amount of $5,000,000 (the “Allowed 503(b)(9) Claim”);

                          (ii)   FM shall be granted an allowed general unsecured claim against
                          RMC in the amount of $5,302,290 (the “Allowed GUC Claim” and,
                          together with the Allowed 503(b)(9) Claim, the “Allowed Claims”); and

                          (iii) The Debtors shall instruct their claims agent, Donlin Recano &
                          Company, Inc., to enter the Allowed Claims in the claims register and to
                          expunge all other FM claims from the claims register (including the Proofs
                          of Claim and any other claims scheduled by the Debtors).

                          Ownership Dispute.

                          (i)    Within five (5) business days of the Effective Date, FM shall
                          withdraw the Reclamation Demand and the Customer Statement with
                          prejudice.

                          (ii)   Upon entry into an agreement in principle concerning the
                          Settlement Agreement, all deadlines under the Uniform Procedures solely
                          with respect to FM are stayed pending the Bankruptcy Court’s entry of the
                          Settlement Order.

                          Consent to Plan. Upon the Effective Date, FM shall vote in favor of and
                          not, directly or indirectly, object to any plan of liquidation supported by
                          the Senior Lenders and the Debtors so long as the plan provides treatment
                          for administrative expense claims under section 503(b)(9) of the

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   Interested parties should refer to the Settlement Agreement for a complete recitation of its terms. Except as
 otherwise noted herein, capitalized terms from the Settlement Agreement are incorporated by reference herein.

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                       Bankruptcy Code that is no less favorable than that set forth in the plan
                       filed at Docket No. 1295.

                       Consent to Collateral Order. Upon the Effective Date, the Cash Collateral
                       Objection shall be deemed immediately withdrawn with prejudice and FM
                       shall not, directly or indirectly, object to any final cash collateral order
                       supported by the Senior Lenders

                       Effective Date. The Settlement Agreement is conditioned upon occurrence
                       of the “Effective Date,” which means the first date by which each of the
                       following conditions has occurred:

                       (i)     the Settlement Agreement is executed by each of the Parties; and

                       (ii)   the Court enters an order approving the Settlement Agreement in a
                       form and substance acceptable to the Parties, provided that such order has
                       not been stayed.

                              BASIS FOR RELIEF REQUESTED

          23.   Bankruptcy Rule 9019 provides that, upon the motion of the debtor-in-possession,

 “after notice and a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr.

 P. 9019(a). Section 105(a) of the Bankruptcy Code authorizes the Court to enter any order “that

 is necessary or appropriate to carry out the provisions of” the Bankruptcy Code. 11

 U.S.C. § 105(a).

          24.   A court must determine that a settlement under Bankruptcy Rule 9019 is fair,

 equitable, and in the best interests of the estate before it may approve a settlement. In re Drexel

 Burnham Lambert Grp., Inc., 134 B.R. 493, 496 (Bankr. S.D.N.Y. 1991) (citing Protective

 Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424, 88

 S.Ct. 1157, 20 L.Ed.2d 1 (1968)); see also In re Chemtura Corp., 439 B.R. 561, 593–94 (Bankr.

 S.D.N.Y. 2010); In re Lehman Bros. Holdings, 435 B.R. 122, 134 (S.D.N.Y. 2010).

          25.   A court’s responsibility is to “canvass the issues and see whether the settlement

 falls below the lowest point in the range of reasonableness.” Chemtura, 439 B.R. at

 594 (quoting In re W.T. Grant, Co., 699 F.2d 599, 608 (2d Cir.1983)) (internal quotations

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 omitted). But the court is not required to go so far as to conduct a trial on the terms to approve a

 settlement. See id. Before making a determination, however, the court must inform itself of “all

 facts necessary for an intelligent and objective opinion of the probabilities of ultimate success

 should the claim be litigated.” O’Connell v. Packles (In re Hilsen), 404 B.R. 58, 70 (Bankr.

 E.D.N.Y. 2009) (internal quotations omitted) (quoting TMT Trailer Ferry, 390 U.S. at 424, 88

 S.Ct. 1157). Although courts have discretion to approve settlements, the business judgment of

 the debtor in recommending the settlement should be factored into the court’s analysis. See JP

 Morgan Chase Bank, N.A. v. Charter Commc’ns Operating LLC (In re Charter Commc’ns), 419

 B.R. 221, 252 (Bankr. S.D.N.Y. 2009). “At the same time, a court may not simply defer to a

 debtor in possession’s judgment, but must independently evaluate the reasonableness of the

 settlement.” In re Rosenberg, 419 B.R. 532, 536 (Bankr. E.D.N.Y. 2009) (citations omitted). In

 addition, courts may give weight to the opinion of bankruptcy counsel supporting the

 settlement. See id. (“In [approving the settlement agreement], the court is permitted to rely upon

 ‘opinions of the trustee, the parties, and their attorneys.’”); Chemtura, 439 B.R. at 594.

          26.    To that end, courts have developed standards to evaluate if a settlement is fair and

 equitable and identified factors for approval of settlements based on the original framework

 announced in TMT Trailer Ferry, Inc., 390 U.S. 414, 88 S.Ct. 1157, 20 L.Ed.2d 1 (1968). The

 Second Circuit outlined the test for consideration of settlements under the Bankruptcy Rules

 in Iridium Operating LLC, 478 F.3d at 462. The factors to be considered are interrelated and

 require the court to evaluate:

          (1) the balance between the litigation’s possibility of success and the settlement’s
          future benefits;
          (2) the likelihood of complex and protracted litigation, “with its attendant expense,
          inconvenience, and delay,” including the difficulty in collecting on the judgment;




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          (3) “the paramount interests of the creditors,” including each affected class’s
          relative benefits “and the degree to which creditors either do not object to or
          affirmatively support the proposed settlement;”
          (4) whether other parties in interest support the settlement;
          (5) the “competency and experience of counsel” supporting, and “[t]he experience
          and knowledge of the bankruptcy court judge” reviewing, the settlement;
          (6) “the nature and breadth of releases to be obtained by officers and directors;”
          and
          (7) “the extent to which the settlement is the product of arm’s length bargaining.”

 Id.

          27.    The factors militate in favor of approving the Settlement Agreement with FM.

          28.    Without this settlement, FM, the Debtors, and the Senior Lenders will incur costs

 in litigating FM's Reclamation Demand, Cash Collateral Objection, and Customer Statement, as

 well as issues related to FM's proofs of claim. The interests of the creditors are served by the

 reduction of administrative expenses.

          29.    The Debtors, the Senior Lenders, and FM are each represented by sophisticated

 counsel.

          30.    The Settlement Agreement is the result of arm’s length bargaining and the product

 of voluntary and independent negotiations by and among the Debtors, Senior Lenders, and FM.

 No special relationships among the parties exist. Upon information and belief, neither the

 parties, nor their counsel, are related or affiliates of the other.

          31.    The Settlement Agreement is in the best interest of the Debtors' estates, creditors

 and interested parties. The uncertainty and risk of litigation is avoided together with the attendant

 administrative expenses. Professionals are freed up for other tasks in these related Chapter 11

 cases.

          32.    The Debtors submit that the Settlement Agreement represents a sound and good

 faith exercise of the business judgment of the Debtors and Scott Avila, in his capacity as CRO.



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 In exercising his business judgment, Mr. Avila reviewed the Settlement Agreement, considered

 the amounts involved, and weighed the benefits against the risk of litigation.

          33.     Finally, the Senior Lenders support approval of the Settlement Agreement, and

 the Committee does not object to its approval.

          34.     Accordingly, the Debtors respectfully request the Court grant this Motion and

 approve the Settlement Agreement.

                                    NO PREVIOUS REQUEST

          35.     No prior motion for the relief requested herein has been made by the Debtors to

 this or any other court.

                                              NOTICE

          36.     The Debtors have provided notice of this Motion to: (i) the Office of the United

 States Trustee for the Southern District of New York; (ii) counsel to the Debtors’ Senior

 Lenders; (iii) the parties listed in the consolidated list of thirty (30) largest unsecured creditors

 filed by the Debtors in these Chapter 11 Cases; (iv) counsel to the Official Committee of

 Unsecured Creditors; (v) parties settling disputes pursuant to this Motion; and (vi) any other

 party entitled to notice pursuant to Local Rule 9013-1(b) (collectively, the “Notice Parties”).

 The Debtors submit that, in light of the nature of the relief requested, no other or further notice

 need be given.

                                          CONCLUSION

          WHEREFORE, for the reasons set forth above, the Debtors respectfully request the Court

 enter an Order in substantially in the form attached hereto as Exhibit B (i) approving the

 Settlement Agreement, and (ii) granting such other and further relief as requested herein or as the

 Court otherwise deems necessary and appropriate.



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 Dated: August 21, 2019
                                          AKERMAN LLP


                                          By:     /s/John Mitchell_______
                                                 John E. Mitchell
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                                                        - and –

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                                  EXHIBIT A

                      SETTLEMENT AGREEMENT




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                                  SETTLEMENT AGREEMENT

         This SETTLEMENT AGREEMENT (this “Agreement”) is made and entered into as of
 August [__], 2019, by and among the following “Parties”: (a) Miami Metals I, Inc. (f/k/a Republic
 Metals Refining Corporation), on behalf of itself and its affiliated debtors and debtors in possession
 in the Chapter 11 Cases described below (collectively, the “Debtors”); (b) First Majestic Silver
 Corp. (“FMSC”), on behalf of itself and its subsidiaries Nusantara de Mexico, S.A. de C.V.
 (“Nusantara”) and Primero Empresa Minera, S.A. de C.V. (“PEM” and together with FMSC and
 Nusantara, collectively, “FM”); and (c) Coöperatieve Rabobank U.A., New York Branch, Brown
 Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC
 Standard Bank Plc, Techemet Metal Trading LLC, Woodforest National Bank and Hain Capital
 Investors Master Fund, Ltd. (collectively, the “Senior Lenders”).

                                             RECITALS

        WHEREAS, on November 2, 2018 (the “Petition Date”), certain Debtors commenced
 chapter 11 cases (the “Chapter 11 Cases”) under title 11 of the United States Code (the
 “Bankruptcy Code”) that are presently pending in the United States Bankruptcy Court for the
 Southern District of New York (the “Bankruptcy Court”).

         WHEREAS, each Senior Lender is party to a credit agreement, master netting agreement
 or lease agreement with the Debtors entered into prior to the Petition Date (as such agreements
 may be amended, restated, supplemented or otherwise modified from time to time, the “Credit and
 Lease Agreements” and together with any and all related collateral and security documents,
 guarantees and other loan documents, the “Secured Credit/Lease Documents”).

         WHEREAS, the Debtors and the Senior Lenders assert, and FM disputes, that the
 obligations under the Secured Credit/Lease Documents (the “Prepetition Obligations”) are secured
 by valid and perfected liens (the “Prepetition Liens”) on substantially all of the Debtors’ assets,
 including the Debtors’ purported inventory and cash.

         WHEREAS, on the Petition Date, the Debtors filed the Motion For Entry of Interim and
 Final Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate
 Protection to the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related
 Relief (the “Initial Cash Collateral Motion”) [Docket No. 10].

          WHEREAS, on November 13, 2018, the Debtors and the Senior Lenders filed the Joint
 Supplement of the Debtors and the Senior Lenders to the Cash Collateral Motion (together with
 the Initial Cash Collateral Motion, the “Cash Collateral Motion”) [Docket No. 78].

        WHEREAS, the Bankruptcy Court has entered nine interim cash collateral orders [Docket
 Nos. 54, 277, 372, 538, 675, 864, 987, 1160 and 1237] (collectively, the “Interim Cash Collateral
 Orders”).

        WHEREAS, pursuant to the Interim Cash Collateral Orders, among other things, the Senior
 Lenders consented to the Debtors’ use of their cash collateral to fund the costs and expenses of
 administering the Chapter 11 Cases, and the Senior Lenders were granted superpriority claims
 (“Superpriority Claims”) and adequate protection liens on substantially all of the Debtors’ assets

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 (the “Adequate Protection Liens”) to protect against any diminution in value of the Prepetition
 Collateral.

         WHEREAS, numerous of the Debtors’ customers (including FM) objected to the Cash
 Collateral Motion on the basis that the Debtors’ purported precious metal inventory and its cash
 proceeds were property of such customers rather than property of the Debtors’ estates, giving rise
 to a dispute (the “Ownership Dispute”) concerning the ownership of such assets governed by
 uniform procedures approved by the Bankruptcy Court (as amended, the “Uniform Procedures”)
 [Docket Nos. 395, 913 and 1196].

         WHEREAS, Nusantara and Debtor Miami Metals II, Inc. (f/k/a Republic Metals
 Corporation) (“RMC”) are parties to a certain letter agreement dated July 21, 2017 (as amended,
 restated, supplemented, or otherwise modified, the “Nusantara Contract”) relating to the refining
 and forward/spot sales of precious metal produced by Nusantara’s Santa Elena mine.

         WHEREAS, PEM and RMC are parties to a certain letter agreement dated June 27, 2018
 (as amended, restated, supplemented, or otherwise modified, the “PEM Contract” and together
 with the Nusantara Contract, the “FM Contracts”) relating to the refining and forward/spot sales
 of precious metal produced by PEM’s San Dimas mine.

         WHEREAS, FM asserts that it retained ownership of certain of the precious metals
 delivered to the Debtors pursuant to the FM Contracts (the “Disputed Materials”) and that such
 metals and the proceeds thereof are not property of the Debtors’ estates.

         WHEREAS, the Debtors and the Senior Lenders assert that the Debtors own the Disputed
 Materials and that such materials and the proceeds thereof are property of the Debtors’ estates and
 are subject to the Prepetition Liens and Adequate Protection Liens of the Senior Lenders.

         WHEREAS, on November 16, 2018, FM delivered a letter making a reclamation demand
 to the Debtors [Docket No. 102] (the “Reclamation Demand”) and on November 21, 2018, FM
 filed an objection to the Cash Collateral Motion [Docket No. 147] (the “Cash Collateral
 Objection”).

        WHEREAS, on January 18, 2019, FM filed a Customer Statement of First Majestic Silver
 Corp. [Docket No. 460] (the “Initial Customer Statement”) pursuant to the Uniform Procedures
 which asserted, among other things, FM’ ownership claims to the Disputed Materials and
 incorporated the Cash Collateral Objection by reference.

        WHEREAS, on March 11, 2019, FM filed an amendment to the Initial Customer Statement
 [Docket No. 781] (the “Supplemental Customer Statement” and together with the Initial Customer
 Statement, the “Customer Statement”).

         WHEREAS, (i) on April 10, 2019 (a) FMSC filed proof of claim no. 306 against RMC,
 (b) Nusantara filed proof of claim nos. 300, amended by 301, and 307 against RMC, and (c) PEM
 filed proof of claim nos. 304 and 308 against RMC and proof of claim no. 305 against Debtor
 Republic Trans Mexico Metals, S.R.L.; and (ii) on May 9, 2019, Nusantara filed proof of claim
 no. 457, amending proof of claim no. 307 against RMC (collectively, the “Proofs of Claim”).



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        WHEREAS, on June 21, 2019, the Debtors and the Senior Lenders filed a joint motion for
 summary judgment [Docket No. 1202] seeking, among other things, to dismiss the Customer
 Statement as a “Bucket 3” customer ownership claim and overrule the Cash Collateral Objection.

         WHEREAS, absent approval of this Agreement, the Parties intend to litigate the ownership
 of the Disputed Materials.

          WHEREAS, to avoid the expense and uncertainty of protracted litigation, the Parties desire
 to settle their disputes according to the terms of this Agreement.

                                          AGREEMENT

         NOW, THEREFORE, after good faith, arms’ length extensive negotiations without
 collusion, and for good and valuable consideration the receipt and sufficiency of which are hereby
 acknowledged, the Parties agree to the following terms:

        1.        Effective Date. This Agreement is conditioned upon occurrence of the
 “Effective Date,” which means the first date by which each of the following conditions has
 occurred:

                   (a) this Agreement is executed by each of the Parties; and

                  (b) the Bankruptcy Court enters an order approving this Agreement in a form
 and substance acceptable to the Parties (the “Settlement Order”), provided that such order has not
 been stayed.

 The conditions set forth in this Section 1 may be waived, in whole or in part, by mutual agreement
 of the Parties. As soon as practicable following execution of this Agreement, the Debtors shall
 file a motion with the Bankruptcy Court, in a form reasonable satisfactory to the Parties, requesting
 approval of this Agreement pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.

         2.       Settlement Payment. As consideration for the resolution of any and all existing
 disputes among the Parties, within five (5) business days of the Effective Date, the Debtors shall
 pay to FM $1,600,000 in immediately available funds.

          3.       Allowed Claims. Upon the Effective Date:

                  (a) FM shall be granted an allowed administrative expense claim against RMC
 under section 503(b)(9) of the Bankruptcy Code in the amount of $5,000,000 (the “Allowed
 503(b)(9) Claim”);

                  (b) FM shall be granted an allowed general unsecured claim against RMC in
 the amount of $5,302,290 (the “Allowed GUC Claim” and, together with the Allowed 503(b)(9)
 Claim, the “Allowed Claims”); and

                    (c) The Debtors shall instruct their claims agent, Donlin Recano & Company,
 Inc., to enter the Allowed Claims in the claims register and to expunge all other FM claims from
 the claims register (including the Proofs of Claim and any other claims scheduled by the Debtors).


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          4.       Ownership Dispute.

                (a) Within five (5) business days of the Effective Date, FM shall withdraw the
 Reclamation Demand and the Customer Statement with prejudice.

                 (b) Upon entry into an agreement in principle concerning this Settlement
 Agreement, all deadlines under the Uniform Procedures solely with respect to FM are stayed
 pending the Bankruptcy Court’s entry of the Settlement Order.

         5.         Consent to Plan. Upon the Effective Date, FM shall vote in favor of and not,
 directly or indirectly, object to any plan of liquidation supported by the Senior Lenders and the
 Debtors so long as the plan provides treatment for administrative expense claims under section
 503(b)(9) of the Bankruptcy Code that is no less favorable than that set forth in the plan filed at
 Docket No. 1295.

         6.         Consent to Cash Collateral Order. Upon the Effective Date, the Cash Collateral
 Objection shall be deemed immediately withdrawn with prejudice and FM shall not, directly or
 indirectly, object to any final cash collateral order supported by the Senior Lenders.

         7.        Party Representations. Each Party hereby represents and warrants that: (a) such
 Party and the signatory hereto has the power and authority to execute, deliver and perform this
 Agreement; (b) such Party has taken all necessary actions to authorize the execution, delivery and
 performance of this Agreement; (c) this Agreement has been duly executed and delivered by such
 Party and constitutes the legal, valid, and binding obligations of such Party, enforceable against it
 in accordance with their respective terms; (d) such Party’s execution, delivery, and performance
 of this Agreement does not and will not conflict with, or constitute a violation or breach of, or
 constitute a default under any obligation of such Party and will not violate any applicable law, or
 any order or decree of any court or government instrumentality applicable to such Party; and
 (e) such Party has entered into this Agreement in reliance on its own independent investigation
 and analysis of the facts underlying the subject matter of this Agreement, and no representations,
 warranties, or promises of any kind have been made directly or indirectly to induce it to execute
 this Agreement other than those that are expressly set forth in this Agreement.

          8.       Mutual Releases.

                     (a) Upon the Effective Date, each Debtor, each Debtors’ estate and each Senior
 Lender, each on behalf of itself, its respective successors and assigns and each of their respective
 affiliates, subsidiaries, employees, directors, officers, members, agents, advisors or counsel (each
 in their capacity as such) (collectively, the “Debtor/Lender Entities”), hereby irrevocably waives,
 releases and discharges all claims, obligations, suits, judgments, remedies, damages, demands,
 debts, rights, causes of action, and liabilities that the Debtor/Lender Entities have, may have or are
 entitled to assert, whether known or unknown, liquidated or unliquidated, fixed or contingent,
 foreseen or unforeseen, matured or unmatured, in law, equity, or otherwise, including, without
 limitation, all claims under chapter 5 of the Bankruptcy Code and state fraudulent conveyances,
 fraudulent transfer and other similar state laws (each, a “Claim”), against FM, and each of its
 affiliates, subsidiaries, employees, directors, officers, members, agents, advisors and counsel (each
 in their capacity as such) (collectively, the “FM Entities”), based in whole or in part upon any act
 or omission, transaction, or occurrence with respect to the FM Contracts and the Disputed

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 Materials; provided, however, that the foregoing shall not release or discharge (i) any obligations
 arising under and pursuant to this Agreement, or (ii) any claims relating to any breach of the
 obligations arising under and pursuant to this Agreement.

                   (b) Upon the Effective Date, FM, on behalf of itself and each FM Entity
 (including, without limitation, Nusantara and PEM), hereby irrevocably waives, releases and
 discharges all Claims against each Debtor/Lender Entity based in whole or in part upon any act or
 omission, transaction, or occurrence with respect to the FM Contracts, the Disputed Materials, the
 Ownership Dispute, the Secured Credit/Lease Documents, the Prepetition Obligations, the
 Prepetition Liens and the Cash Collateral Motion; provided, however, that the foregoing shall not
 release or discharge (i) any obligations arising under and pursuant to this Agreement, (ii) the
 Allowed Claims or (iii) any claims relating to any breach of the obligations arising under and
 pursuant to this Agreement.

         9.         Continuing Bankruptcy Court Jurisdiction. Each Party agrees that the
 Bankruptcy Court shall have exclusive jurisdiction over any disputes regarding the validity,
 interpretation, or performance of this Agreement so long as the Bankruptcy Cases are pending,
 and each of the Parties consents to personal jurisdiction and venue in the Bankruptcy Court in
 connection with any such disputes; provided, however, that if the Bankruptcy Cases are no longer
 pending, or if the Bankruptcy Court cannot or does not exercise jurisdiction, such jurisdiction and
 venue shall belong to the federal courts in the Southern District of New York.

         10.      Voluntary Agreement. Each Party acknowledges that it has read all of the terms
 of this Agreement, has had an opportunity to consult with counsel of its own choosing, or has
 voluntarily waived such right and enters into this Agreement voluntarily and without duress.

         11.       Further Assurances. Each Party agrees, without further consideration, to execute
 and deliver such other documents and to take such other action as may be necessary to consummate
 the purposes of this Agreement.

         12.        No Admission. This Agreement is for settlement purposes only and shall not be
 construed or deemed an admission by any Party to this Agreement of wrongdoing, liability, fault,
 or the validity of any claims. This Agreement shall not be introduced by any Party, and shall not
 be admissible for any purpose, in any action other than an action to enforce its terms.

          13.        Valid Provisions Remain Effective. If any provision in this Agreement shall be
 invalid, inoperative or unenforceable, the remaining provisions of this Agreement shall remain in
 effect if both the economic and legal substance of the terms contemplated hereby are not materially
 affected in any manner adverse to any Party. Otherwise, the Parties shall negotiate in good faith
 to rewrite any such provision so as to, as nearly and fairly as possible, approach the economic and
 legal substance originally intended.

        14.       Construction. The language used in this Agreement will be deemed to be the
 language chosen by the Parties to express their mutual intent, and no rule of strict construction will
 be applied against any Party, nor will any rule of construction that favors a non-draftsman be
 applied. A reference to any statute will be deemed also to refer to all rules and regulations
 promulgated under the statute, unless the context requires otherwise. Unless specifically otherwise
 provided or the context otherwise requires, the singular includes the plural and the plural the

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 singular; the word “or” is deemed to include “and/or”, the words “including”, “includes” and
 “include” are deemed to be followed by the words “without limitation”, and references to sections
 are to those of this Agreement. Headings in this Agreement are included for convenience of
 reference only and do not constitute a part of this Agreement for any other purpose.

         15.        Counterparts. This Agreement may be executed in counterparts which, taken
 together, shall constitute one original. Delivery of an executed counterpart of a signature page to
 this Agreement by .pdf format shall be effective as delivery of a manually executed counterpart
 thereof. The Parties authorize their counsel to sign this Agreement on their behalf.

        16.      Applicable Law. The validity, interpretation, and performance of this
 Agreement shall be construed and interpreted according to the laws of the State of New York,
 except to the extent that (a) provisions of the Bankruptcy Code apply, in which event the
 Bankruptcy Code shall control, or (b) applicable federal law preempts state law.

         17.        Entire Agreement; Amendments. This document contains the entire Agreement
 among the Parties as to the matters addressed herein, and may only be modified in writing signed
 by the Parties or their duly appointed agents. All prior agreements and understandings among the
 Parties concerning the subject matter hereof are superseded by the terms of this Agreement.

         18.        Successors and Assigns. This Agreement shall be binding on and inure to the
 benefit of the Parties and their respective agents, employees, affiliates, successors, and assigns
 (including any chapter 11 or chapter 7 trustee hereafter appointed or elected for the estates of any
 of the Debtors, an examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any
 other fiduciary appointed as a legal representative of any Debtor or with respect to the property of
 the estate of any Debtor). In addition, this Agreement, including the releases provided in Section 8
 above, shall be binding on any and all representatives of the Debtors’ bankruptcy estates, including
 any chapter 11 or chapter 7 trustee or any party that has or is granted standing to pursue claims or
 causes of action on behalf of the Debtors’ estates.

        19.        Continuing Validity. Provided the Effective Date occurs, all provisions of this
 Agreement that can be given effect without confirmation of a Chapter 11 plan for the Debtors,
 including, without limitation, payment of the Settlement Payment, the granting of the Allowed
 Claims and the mutual releases, shall be and remain effective. If any provision of a Chapter 11
 plan conflicts with this Agreement, this Agreement shall govern.

         20.       Third Party Beneficiaries. Other than the Debtor/Lender Entities and the FM
 Entities not otherwise party hereto, there are no third party beneficiaries of this Agreement.

         21.        Notices. All notices, consents, waivers, and other communications under this
 Agreement must be in writing and shall be deemed to have been duly given when: (a) delivered
 by hand (with written confirmation of receipt) or (b) received by the addressee, if sent by email,
 in each case to the appropriate addresses and representative (if applicable) set forth in the signature
 page(s) attached hereto (or to such other addresses and representative as a Party may designate by
 notice to the other Parties in accordance with this paragraph).

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         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date
 written in the opening paragraph hereof.


  LECLAIRRYAN, PLLC                                AKERMAN LLP


  By                                               By:
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                                  EXHIBIT B

                             PROPOSED ORDER




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                       )           Chapter 11
                                                              )
 MIAMI METALS I, INC., et al.3                                )           Case No. 18-13359 (shl)
                                                              )
                                                              )           (Jointly Administered)
                                  Debtors.                    )
                                                              )

       ORDER GRANTING DEBTORS' MOTION FOR APPROVAL OF SETTLEMENT
            AGREEMENT BY AND AMONG DEBTORS, SENIOR LENDERS,
           AND FIRST MAJESTIC SILVER CORP. AND ITS SUBSIDIARIES,
         PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

            Upon the motion (the “Motion”)4 [ECF No. ___] of Miami Metals I, Inc., et al., as

 debtors and debtors-in-possession (collectively the "Debtors") in the above-captioned Chapter 11

 cases (the “Chapter 11 Cases”), for entry of an Order approving the Settlement Agreement by

 and among Debtor Miami Metals II, the Senior Lenders, and First Majestic Silver Corp. and its

 subsidiaries, Nusantara de Mexico, S.A. de C.V. and Primero Empresa Minera, S.A. de C.V.,

 pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “Bankruptcy Rules”); and it

 appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this

 proceeding being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

 notice of the Motion as set forth therein is sufficient under the circumstances, and that no other

 3The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
 Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami
 Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No.
 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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     All capitalized terms not defined herein shall have the definitions set forth in the Motion.

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 or further notice need be provided; and the Court having reviewed the Motion; no objections to

 the Motion having been filed; and it further appearing that the relief requested in the Motion is in

 the best interests of the Debtors’ estates, creditors, and other parties-in-interest; and the Court

 having determined that the terms of the proposed Settlement Agreement do not fall below the

 lowest point in the range of reasonableness; and upon all of the proceedings had before the Court

 on August 29, 2019; and after due deliberation and cause appearing;

 IT IS HEREBY ORDERED THAT:

          1.    The Motion is GRANTED as set forth herein.

          2.    Pursuant to Bankruptcy Rule 9019 and 11 U.S.C. § 105(a), the Settlement

 Agreement is approved and is fully enforceable in all respects.

          3.    The Settlement Agreement is incorporated into this Order.

          4.    Debtor Miami Metals II, the Senior Lenders, and FM shall comply with all terms

 of the approved Settlement Agreement.

          5.    Notwithstanding the possible applicability of Bankruptcy Rules 6004(a) and

 6004(h) or otherwise, the terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry, and the requirements of Bankruptcy Rules 6004(a) and 6004(h) are

 hereby waived.

          6.    Debtor Miami Metals II, the Senior Lenders, and FM are hereby authorized and

 empowered to take such steps and perform such acts as may be necessary to implement and

 effectuate the terms of the Settlement Agreement and the terms of this Order.

          7.    This Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation and/or interpretation of this Order.




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          8.   This Order shall be effective immediately upon entry by the Court.


 Dated: New York, New York
        September ___, 2019
                                                  PROPOSED
                                           _______________________________________
                                           HONORABLE SEAN H. LANE
                                           UNITED STATES BANKRUPTCY JUDGE




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